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                          UNITED STATES DISTRICT COURT                    PEJ'ERA.~        .

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                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION                            ·~·
                                                                             DEPCU(




·UNITED STATES OF AMERICA                                                       (1



                v.                                   CRIMINAL.INFORMATION

TAMARA PERRY MCCAFFITY



        The United States Attorney charges that:

                                        COUNT ONE

                                   I.      INTRODUCTION

        1:      Beginning no later than .in or about January 2013,                   and

continu·ing· until at least in or about May 2016,                  in the Eastern

District of North Carolina and elsewhere,                 the defendant,· TAMARA

PERRY MCCAFFITY; and one or more other persons conspired to defraud

the     North        Carolina   Medicaid    system   by   submitting    false        and

fraudulent claims for reimbursement of services,                   including,        but

·not limited to,           claims for services that were never rendered by

the billing providers.

        2.      Medicaid is a Federal health care benefit program that

helps        pay     for   medically    necessary    services   for     low~income


individuals and their. families              ("beneficiaries") .       Medicaid is

administered by state governments.              In North Carolina, Medicaid is

administered by the North Carolina Department of Health and Human




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Services, Division of Medical Assistance ("DMA")                  I   together with a

netwo~k         of managed care organizations acting on its behalf under

contractual          agreements.        The   North    Carolina       Medicaid    system

includes bcith traditional Medicaid ~nd the North Carolina H~alth
                             ~                                .                   .
Choice for Children insurance program (collectively, "Medicaid") . 1

          3.      If qualified, a beneficiary can ·enroll in the Medicaid

program.           At the time of enrollment,          a    benefi6iary receives a

unique alphanumeric code i.ssued by the program.                  This code is known
     I
as   a      Medicaid     Identification Number.             Similar    to   traditional

insurance, · beneficiaries ·may use               their Medicaid Identificaticm

Numbers to receive covered medical services.

         · 4.     Medicaid beneficiaries          receive    services' from ·medical

practitioners and companies,             refer:r~ed   to as Medicaid "providers."

Every provider who participates in the Medicaid program must apply

for and obtain a National Provider Identifier ("NPI").                       The NPI is

a 10-digit number used to identify claims filed by and monies paid

to a given provider.               All .Medicaid providers must certify that

they will only bill the government for services that they actually

render.

          5.      After a provider renders a covered medical service to a

Medicaid          beneficiary,    the   provider may ·bill        Medicaid       for   the


1    The Health Choice program supports families whose household
income is too high to qualify for traditional Medicaid benefits
and too low to afford private or employer-sponsored health
insurance.

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reasonable     and     necessary       costs       of   the   service.      In    general,

providers bill Medicaid for services by submitting an electronic

claim for reimbursement over the Internet.

     6.      In      each    claim,     the        provider    must      enter     truthful

information         concerning   the    services         it   performed.         The   claim

generally includes, but is not limited to, the date of the alleged

service,    the Medicaid Identification Number of . the beneficiary,

the nature of the service rendered, and the provider's NPI number.

      7.     Some of the services covered by Medicaid include mental

·health    services,        including     assessment,          individual        and   group

therapy,    family· therapy,          psychiatric medication management.,                and

psychological testing for beneficiaries of all ages.                         Each mental

heal th service provider is required by Medicaid to maintain service

notes and other medical records for a period o{ six years in order

to document and substantiate any claims for reimbursement.

                                 II.     THE CONSPIRACY

      8.     Beginning no later than in or about January 2013,                           and

continuing until at least in or about May 2016,                          in the Eastern

District of North Carolina and elsewhere, defendant, TAMARA PERRY

MCCAFFITY, did knowingly combine, conspire, confederate, and agree

with one or more known and unknown persons .to commit an offense

against the United States, namely:

              (a)     Knowingly and willfully executing,                 and attempting

to execute, a scheme and artifice to defraud a health care benefit

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program, as defined in Title 18, United States Code, Section 24 (b) ,

affecting comme7ce,         to wit, Medicaid, and to obtain, by means of·

materially false         and   fraudulent         pretenses,       representations     arid

promises, money and property owned by, and under the custody and

control of,        said health care benefit program,                in connection with

the delivery of and payment for health care benefits,                        items, and

services,       in violation of Title 18, United States Code,                     Section

1347.

                            OBJECT OF THE CONSPIRACY

        9.      The object of the conspiracy was for the_ conspirat.ors,

including        the   defendant     I    TAMARA     PERRY. MCCAFFITY\,/     to    enrich

themselves at the expense of the taxpayer-funded Medicaid system

by preparing and f-iling         I       and causing to be prepared and filed,

false    and     fraudulent    Medicaid c'iaims            for   the   reimbursement    of

mental health services.

                                     MANNER AND MEANS

        Among the manner and means used to effect and accomplish the

purpose of the conspiracy                includ~d,   but    w~re   not. limited to, the

following:

        10.     It was part of the conspiracy .that between at               le~st   2013

and 2015, TAMARA PERRY MCCAFFITY owned and operated Dreamworks II,

a   purported mental        health business           in Durham,       North Carolina.

TAMARA PERRY MCCAFFITY used the business to submit a substantial

number of false and'fraudulent claims fo; Medicaid reimbursement,

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including       claims     for    mental      health          services    that     were   never

rendered.

       11.     It was further part of the conspiracy that in the summer

of 2014, TAMARA PERRY MCCAFFITY purchased Prominence Consulting &

Therapeutic         Services     ("Prominence");              a   purported mental health

business in Raleigh, North Carolina.· At the time of the purchase,

Prominence's only "asset" was an active Medicaid license on file

with DMA; Prominence was otherwise a shell company with no patients .

or any legitimate business operations.

       12.     It was further part of the conspiracy that one or more

conspirators would and did misappropriate personal                                 identifying

information         ("PII")      of   (i)    Medicaid             beneficiarie~,     including

i;iames;   dates of birth, . and Medicaid Identification Numbers,                             and

(ii)   mental health professi6nals,                        including clinician names and

NPI numbers.

       13.     It    was   further     part           of    the    conspiracy    that     a   co-

conspirator         would , and did         act       as    the    third party biller         for

Prominence.          In this capacity,            the co-conspirator would and did

use the misappropriated PII to prepare and electronically file

thousands of false and fraudulent reimbursement claims for mental

health services purportedly rendered by Prominence when, in fact,

no such services were ever             rendered~

       14.     It was further part of the conspiracy that between at

least 2015 and 2016, TAMARA PERRY MCCAFFITY owned and operated 1st

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Choice Health Services; a purported mental health business in High

Point, North Carolina.       TAMARA PERRY MCCAFFITY used the business

to submit false and fraudulent claims for Medicaid reimbursement,

including    claims   for   mental   health    services   that   were    never

rendered.

        All in violation of Title 18,       United States· Code,        Section

1349.




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                                 FORFEITURE NOTICE

      Upon    conviction     of    the     offense      alleged       in this         Criminal

Information, the defendant, TAMARA PERRY MCCAFFITY, shall forfeit

to   the   United States,         pursuant       to ·18   U.S.C. · § 982 (a) (7),           any

property,     real    or   personal,       that     donstitutes         or   is       derived,

directly or        indirectly,     from     gross      proceeds       traceable' to          the

commi'ssion of the offense.

      The forfeitable property includes, but is not limited to, the

following:

      1.     $771, 269     in United States            currency,      representing the

             gross proceeds of ,, the offense aileged in this Criminal

             Information obtained by the defendant;

      2.     One approximately 0.48 acre tract of real property, with

             all imp;i:-ovements thereto, located in Wake County, North.

             Carolina, and more fully aescribed in a deed recorded in

             book 14125, pages 2020-2022 of the Wake County Registry,
                                    .                                             '
             being titled in the names of Edward Leslie Mccaffity and

             Tamara Mccaffity, and having the street address of 11222

             Empire Lakes Drive, Raleigh, North Carolina.

      3.     One approximately 0.26 acre tract of real property, with

             all     improvements        thereto,      located     in    Durham        County,

             North    Carolina,         and more       fully    described      in      a   deed

             recorded in book 7866, pages 814-815 of the Durham County

             Registry,     being · titled         in    tpe    name     of   Tamara        Perry

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            Mccaffity, and having the street address of 5 Elmridge

            Court, Durham, North Carolina.

     4.     One approximately 0.26 acre tract of real property, with·

            all    improvements       thereto,          located   in   Orange    County,

           . Florida, and more fully described in a.deed recorded in

            book 9848, page 1938 of the Orange County Registry, being

            titled in the names of Edward Mccaffity and Tamara Perry-

            Mccaffity, and having the street address of 648 Crystal

            Lane Bay, Orlando, Florida.
                                                                                        \
     If   any of        the   above-described        forfei table      property,   as   a

result of any act or omission of the defendant, cannot be located

upon the exercise of due_diligence; has been transferred or sold

to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in

value; or has been commingled with'other property which cannot be

divided without difficulty; it is the intent of the United·                      Sta~es,


pursuant to 21 U.S.C.          §   853(p),       to seek forfeiture of any other

property of       the    defendant    up     to   the    value    of   the   forfeitable

property described above.

                                           ROBERT J. HIGDON, JR.
                                           Uni,ted States Attorney



                                        '1fHULM
                                           Assistant United States Attorney
                                           Criminal Division



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